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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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   RUBEN WILLS,                                                        :
                                                                       :
                                       Plaintiff,                      :
                                                                       :
                     -against-                                         :
                                                                       : 20 Civ 4432 (BMC)
   MICROGENICS CORPORATION,                                            :
   THERMO FISHER SCIENTIFIC, INC. and                                  :
   SHEILA WOODBERRY,                                                   :
                                                                       :
                                                                       :
                                       Defendants.                     :
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                DEFENDANT WOODBERRY’S LOCAL CIVIL RULE 56.1 STATEMENT

          Pursuant to Local Rule 56.1, Defendant Sheila Woodberry (“Woodberry”), by her

  attorney, Letitia James, Attorney General of the State of New York, respectfully submits the

  following statement of material facts, as to which Woodberry contends that there exists no

  genuine of issue to be tried.

  DOCCS Policies and Procedures

  1. During Plaintiff’s incarceration in New York State custody, the rules governing the conduct

      of incarcerated individuals while under the custody of the New York State Department of

      Corrections and Community Supervision (“DOCCS”) were set forth in the DOCCS’

      Standards of Inmate Behavior handbook. Ex. A 1, at STATE DEF 000949-000972;
                                                               0F




      Declaration of John Harper, dated January 31, 2024 (“Harper Decl.”), ¶ 3; 7 N.Y.C.R.R.

      § 270.2.

  2. The rules set forth in the Standards of Inmate Behavior apply to all incarcerated individuals



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   All citations herein to “Ex.” refer to the Exhibits in Support of Defendant Sheila Woodberry’s Motion for
  Summary Judgment.

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     across all DOCCS facilities. Harper Decl. ¶ 3; Ex. A, at STATE DEF 000949 (“Standards of

     Inmate Behavior: All Institutions”) (emphasis added); Ex. B, at WILLS 000538 (“[a]ll

     [DOCCS] Rules (Standards of Offender Behavior, revised 2/06) apply to you while you are

     an offender at this facility”).

  3. The Standards of Inmate Behavior handbook in effect during the time when Plaintiff was

     under the custody of DOCCS stated that under Rule 113.14, “[a]n inmate shall not possess

     outdated or unauthorized types or quantities of medication, nor shall an inmate sell, exchange

     or provide any medication to anyone.” Ex. A., at STATE DEF 000965.

  4. Plaintiff Ruben Wills received a copy of the handbook containing Rule 113.14 when he

     entered DOCCS custody. Ex. C, Transcript of the Deposition of Ruben Wills, dated April 24,

     2023 (“Pl.’s Dep.”) 32:2-37:12 (referring to Ex. A).

  5. Within DOCCS facilities, all medication for incarcerated individuals must be issued by

     DOCCS medical staff. Harper Decl. ¶¶ 5-6; Declaration of Sheila Woodberry, dated

     February 1, 2024 (“Woodberry Decl.”) ¶ 7; Ex. D, at 15:2-16:4 (Tr. of Dep. of Maryann

     Genovese, dated Nov. 7, 2023).

  6. When medication is provided to an incarcerated individual, DOCCS policy requires that staff

     record the medication in the individual’s medical records. Harper Decl. ¶ 5.

  7. These DOCCS medication issuance policies apply to both prescription and over-the-counter

     medications. Harper Decl. ¶ 5; Ex. D, at 28:21-29:4; Ex. P (Plaintiff’s DOCCS Medication

     List, July 1, 2017 to September 1, 2020 (WILLS 000439-000443)); Ex. E, at STATE DEF

     000135, § II.B.1 (DOCCS, Division of Health Services Policy 3.03: Distribution of Over-

     The-Counter Medication).




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  Plaintiff’s April 8, 2019 Discipline and Hearing

  8. On April 3, 2019, while being housed at Lincoln Correctional Facility, Plaintiff’s locker was

     searched after a canine detection unit alerted. DOCCS officials recovered a prescription

     medication bottle containing two different types of pills. Three of the pills were identified as

     Benadryl. Ex. G., at STATE DEF 000006, 000009-000011, 000013-000014.

  9. Plaintiff did not have a prescription for Benadryl nor did Plaintiff’s medical records at

     DOCCS indicate that DOCCS medical staff had issued Benadryl to Plaintiff. Id. at STATE

     DEF 000006; Pl. Dep. 84:12-85:21; see also Ex. P, at WILLS 000439-000442.

  10. On April 4, 2019, a misbehavior report was written by Lieutenant Malikah McCrorey,

     charging Plaintiff with violating Rule 113.14 for the unauthorized possession of medication

     and Rule 114.10 for smuggling prohibited items into a DOCCS facility. Ex. G, at STATE

     DEF 000006.

  11. Plaintiff was served with and acknowledged receipt of the misbehavior report on April 5,

     2019. Ex. G, at STATE DEF 000002 (“Serving date/time 04/05/19 12:08PM”), STATE DEF

     000007; Ex. H, at 1:25-1:38 (Audio Recording of April 8, 2019 Disciplinary Hearing).

  12. On April 8, 2019, Defendant Sheila Woodberry presided over Plaintiff’s Tier II disciplinary

     hearing concerning his April 3, 2019 Benadryl possession. Plaintiff was present at this

     hearing. Ex. G, at STATE DEF 000002, 000012; Woodberry Decl. ¶¶ 5, 9.

  13. During the April 8, 2019 hearing, Woodberry advised Plaintiff of the charges that were the

     subject of the hearing, and Plaintiff had the opportunity to call witnesses and present

     evidence on his behalf. Woodberry Decl. ¶¶ 9-11; Pl.’s Dep. 96:20-97:17, 97:24-98:3; Ex. H,

     at 3:25-3:45, 11:40-11:50, 12:28-12:55, 14:43-15:26, 17:41-17:56 (Audio Recording of April

     8, 2019 Disciplinary Hearing).



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  14. During the April 8, 2019 hearing, Plaintiff did not call any witnesses, and no witnesses

     testified. Ex. G, at STATE DEF 000002; Pl.’s Dep. 96:20-97:17, 97:24-98:3.

  15. During the April 8, 2019 hearing, Plaintiff admitted that he possessed the Benadryl for which

     he was charged, but did not provide any information to Woodberry about where he obtained

     the Benadryl. Ex. H, at 11:40-11:50, 12:28-12:55, 14:43-15:26 (Audio Recording of April 8,

     2019 Disciplinary Hearing); Woodberry Decl. ¶ 10.

  16. During the April 8, 2019 hearing, Plaintiff did not claim that DOCCS medical staff had

     authorized his possession of Benadryl, or that he was unaware of or misunderstood the rule

     prohibiting his possession of unauthorized medication. See generally Ex. H (Audio

     Recording of April 8, 2019 Disciplinary Hearing), at 12:28-12:38 (“[i]f the medication’s not

     prescribed, then it’s unauthorized medication. . . I understand that”); Woodberry Decl. ¶ 12.

  17. At the conclusion of the hearing, based on the contents of the misbehavior report and

     Plaintiff’s testimony acknowledging possession of the Benadryl, Woodberry found Plaintiff

     guilty of the unauthorized medication charge, and not guilty of the smuggling charge, and

     imposed a penalty of 15 days loss of recreation. Ex. G, at STATE DEF 000002-000005;

     Woodberry Decl. ¶ 13; Ex. H, at 18:56-19:18 (Audio Recording of April 8, 2019

     Disciplinary Hearing).

  18. Woodberry read her determination into the hearing record and Plaintiff was provided with a

     copy of the written disposition, which set forth the evidence Woodberry considered in

     making her determination in finding him guilty of the unauthorized possession violation. Ex.

     H, at 18:38-19:55 (Audio Recording of April 8, 2019 Disciplinary Hearing); Woodberry

     Decl. ¶¶ 13-14; Ex. G, at STATE DEF 000002-000005.

  19. Woodberry did not have any interactions with Plaintiff following the April 8, 2019 hearing



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     concerning this discipline and did not refer Plaintiff’s unauthorized possession of medication

     disciplinary determination to the Temporary Release Committee. Pl.’s Dep. 102:6-10;

     Woodberry Decl. ¶ 16.

  Plaintiff’s April 9, 2019 Temporary Release Committee Hearing and Removal from Work
  Release

  20. On April 9, 2019, the Temporary Release Committee held a hearing to consider Plaintiff’s

     continued participation in the Temporary Release Program. Ex. I, at STATE DEF 000176.

  21. The Temporary Release Committee hearing was initiated by the referral of Lieutenant

     Christopher Hiney, based upon a separate Tier II disciplinary determination that Hiney

     sustained after a disciplinary hearing on March 30, 2019. Ex. I (“Referred to the TRC by: Lt.

     Hiney”); Ex. J, at STATE DEF 000028-000032 (Hearing Packet for March 30, 2019

     Disciplinary Hearing), STATE DEF 000030 (“Recommended TRC review hearing”).

  22. The March 30, 2019 discipline concerned a urine sample Plaintiff submitted to DOCCS

     officials on March 27, 2019, which tested positive for Buprenorphine, an illicit substance. A

     misbehavior report was generated for Plaintiff’s positive urine sample on March 28, 2019,

     indicating that he was in violation of the Temporary Release Rules and DOCCS Rule 108.14.

     Ex. J, at STATE DEF 000032; Ex. A, at STATE DEF 000962, 000966.

  23. Plaintiff’s April 9, 2019 Temporary Release Committee hearing was conducted before

     Temporary Release Committee Chairperson Assistant Deputy Superintendent for Programs

     Shaunte Mitchell, Temporary Release Committee Member Offender Rehabilitation

     Coordinator Caraballo, and Temporary Release Committee Member Correction Officer

     James Fucci. Ex. I, at STATE DEF 000176.

  24. Plaintiff was provided notice of the Temporary Release Committee hearing, appeared in

     person, and testified on his own behalf. Pl.’s Dep. 102:11-103:2, 104:8-22; Ex. I (“Inmate

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     Present: Yes”); see 7 N.Y.C.R.R. § 1904.2(h).

  25. Following the April 9, 2019 Temporary Release Committee hearing, the members of the

     Temporary Release Committee recommended Plaintiff’s removal from the Temporary

     Release Program based on their conclusion that Plaintiff “appears unsuitable for continued

     participation” based on his disciplinary history. Ex. I. In making this recommendation, the

     Committee cited Plaintiff’s statements that he purchased the Benadryl outside the facility and

     that he had “misread” the unauthorized possession rule. Ex. I.

  26. The Superintendent of Lincoln Correctional Facility, Delta Barometre, concurred with the

     Temporary Release Committee’s recommendation for removal and made the decision to

     remove Plaintiff from Temporary Release Program on April 9, 2019. Ex. I.

  27. Plaintiff appealed his removal to the Central Office of Temporary Release, but his appeal

     was denied on July 29, 2019. The written decision denying his appeal stated that Plaintiff’s

     removal from Temporary Release was “warranted” because his “violations of drug use. . .

     indicates an inability to conform with the temporary release contract.” Ex. K, at STATE DEF

     000178 (Notice of Disapproval for Work Release Remvl Appeal).

  28. Woodberry did not attend or testify at Plaintiff’s April 9, 2019 Temporary Release

     Committee hearing. Pl.’s Dep. 105:19-106:10; Woodberry Decl. ¶ 18.

  29. Woodberry did not know that her disciplinary determination would be considered in

     Plaintiff’s removal from the Temporary Release Program. Woodberry Decl. ¶ 17.

  30. Woodberry was not consulted by the Temporary Release Committee or Superintendent

     Barometre regarding Plaintiff’s participation in the Temporary Release Program and did not

     participate in the decision-making by the Committee or Superintendent regarding Plaintiff’s

     removal from the program. Id. ¶¶ 19-20; Pl.’s Dep. 105:19-107:8.



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  31. Defendant Woodberry lacked the authority to remove Plaintiff from the Temporary Release

     Program. 7 N.Y.C.R.R. § 1904.2(f), (j).

  Plaintiff’s Prior Discipline and Temporary Release Committee Hearing for Another
  Unauthorized Possession Charge

  32. On June 1, 2018, while conducting a search of Plaintiff’s locker at Hudson Correctional

     Facility, DOCCS officials recovered a prescription bottle with two different types of pills

     inside. Of the pills recovered, 14 of them were identified as NyQuil. Ex. M, at STATE DEF

     000045-000051 (Hearing Packet for June 14, 2018 Disciplinary Hearing).

  33. Based on the NyQuil, Plaintiff was found guilty following a June 14, 2018 disciplinary

     hearing for the unauthorized possession of medication charge, in violation of DOCCS Rule

     113.14. Ex. M, at STATE DEF 000045; Pl.’s Dep. 107:9-120:2.

  34. During Plaintiff’s June 14, 2018 disciplinary hearing, the hearing officer stated to Plaintiff

     that “any pills, any medication you have in this facility, has to come from this facility,

     alright?” Ex. F, 4:38-4:46 (Audio Recording of June 14, 2018 Disciplinary Hearing).

  35. Following the June 14, 2018 discipline, the Temporary Release Committee hearing at

     Hudson Correctional Facility conducted a hearing to consider Plaintiff’s continued

     participation in work release on June 21, 2018. Following the June 21, 2018 Temporary

     Release Committee hearing, the Committee recommended, and the designee of the

     Superintendent of Hudson Correctional Facility agreed, that Plaintiff would be permitted to

     continue in the Temporary Release Program notwithstanding the June 2018 unauthorized

     possession discipline. Ex. L (Temporary Release Program Form 4187, dated June 21, 2018).

  36. In July 2018, Plaintiff was approved to have overnight furloughs as part of his work release

     participation. Ex. N (Temporary Release Program Form 4187, dated July 5, 2018).




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